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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             MCALLEN DIVISION

UNITED STATES OF AMERICA                 §
                                         §
VS.                                      § CRIMINAL ACTION NO. 7:15-CR-1806-1
                                         §
LUIS GERARDO BETANCOURT                  §

                         RESPONSE TO JURY NOTE NO. 1

       Count 5 alleges a conspiracy involving different events from Count 4. Please

continue with your deliberations.


       SO ORDERED THIS 30TH DAY OF MARCH, 2017, AT MCALLEN, TEXAS.


                                         ___________________________________
                                         Randy Crane
                                         United States District Judge




1/1
